         FIRST DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
                 _____________________________

                        No. 1D2023-3096
                 _____________________________

ANTHONY THOMASSON,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
                 _____________________________


On appeal from the Circuit Court for Okaloosa County.
John T. Brown, Judge.


                       August 27, 2024

PER CURIAM.

    AFFIRMED.

ROWE, KELSEY, and LONG, JJ., concur.
               _____________________________

    Not final until disposition of any timely and
    authorized motion under Fla. R. App. P. 9.330 or
    9.331.
               _____________________________
Anthony Thomasson, pro se, Appellant.

Ashley Moody, Attorney General, and Kristie Regan, Assistant
Attorney General, Tallahassee, for Appellee.




                              2
